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                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF IDAHO

 PAM POE, by and through her parents and
 next friends, Penny and Peter Poe, et al.              Case No. 1:23-cv-00269-BLW
                                          Plaintiffs,
                                                        EMERGENCY MOTION TO
 v.                                                     STAY INJUNCTION PEND-
                                                        ING APPEAL
 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho, et al.
                                        Defendants.




                             EMERGENCY MOTION TO STAY INJUNCTION PENDING APPEAL — 1
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      Defendant Raúl Labrador hereby moves the Court to stay the preliminary in-

junction previously entered by it on December 26, 2023. See Dkt. 78; see also F.R.C.P.

62(d); Fed. R. App. P. 8(a)(1). This motion is supported by the memorandum in support

of the motion, filed herewith.

      DATED: January 3, 2024.

                                       STATE OF IDAHO
                                       OFFICE OF THE ATTORNEY GENERAL

                                             By:    /s/ James E. M. Craig
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                                                    Constitutional Defense
                                                    JOSHUA N. TURNER
                                                    Acting Solicitor General
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                                                    Deputy Attorney General




                          CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on January 3, 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which caused the same to be
served by electronic service upon all counsel of record.


                                            /s/ James E. M. Craig
                                            JAMES E. M. CRAIG
                                            Chief, Civil Litigation and
                                            Constitutional Defense




                            EMERGENCY MOTION TO STAY INJUNCTION PENDING APPEAL — 2
